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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

                        CIVIL ACTION NUMBER 3:17CV-438-JHM

SHEILA ROBEY, as ADMINISTRATRIX of the                                             PLAINTIFF
ESTATE OF HELEN ROBEY, deceased,

vs.                        PLAINTIFF’S ORDER
                                       PROPOSED ORDER
                           GRANTING MOTION TO REMAND

THE EVANGELICAL LUTHERAN
GOOD SAMARITAN SOCIETY, INC., ET AL.                                           DEFENDANTS


       This matter having come before the Court upon the Plaintiff’s Motion to Remand, pursuant

to 28 U.S.C. §1447(c), the Court having reviewed the parties pleadings, and being otherwise

sufficiently advised;

       IT IS HEREBY ORDERED, that the Plaintiff’s motion is GRANTED. Because there is

a lack of complete diversity of citizenship between the Plaintiff and every party-Defendant, the

Court lacks subject matter jurisdiction pursuant to Caterpillar Inc. v. Lewis, 519 U.S. 61, 68

(1996). Accordingly, this matter shall be remanded to the Circuit Court of Jefferson County,

Kentucky for further proceedings.

       So ORDERED this the _______ day of _________________, 2017.




                                                           ______________________________
                                                                          August 29, 2017

                                                           JUDGE
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Tendered by:

/s/ P. Kevin Hackworth,
P. Kevin Hackworth, Esq.
WILKES & McHUGH, P.A.
429 North Broadway
P.O. Box 1747
Lexington, KY 40588-1747
khackworth@wilkesmchugh.com
Counsel for Plaintiff




Copies to: Counsel of record
           Jefferson Circuit Court Clerk
